         Case 1:24-cv-07977-VSB               Document 1   Filed 10/20/24   Page 1 of 21




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X

Jane Doe,

                          Plaintiff,                                No. _____________

                 v.

SEAN COMBS, DADDY’S HOUSE RECORDINGS                                        COMPLAINT AND
INC., CE OPCO, LLC d/b/a COMBS GLOBAL                                       DEMAND FOR
f/k/a COMBS ENTERPRISES LLC,                                                JURY TRIAL
BAD BOY ENTERTAINMENT HOLDINGS, INC.,
BAD BOY PRODUCTIONS HOLDINGS, INC.,
BAD BOY BOOKS HOLDINGS, INC., BAD BOY
RECORDS LLC, BAD BOY ENTERTAINMENT LLC,
BAD BOY PRODUCTIONS LLC,
ORGANIZATIONAL DOES 1-10, AND INDIVIDUAL
DOES 1-10

                          Defendants.

-------------------------------------------------------X

                 Plaintiff Jane Doe (“Plaintiff”), by and through her attorneys, The Buzbee Law

Firm, for her Complaint alleges as follows:

                                             INTRODUCTION

        1.       Defendant Sean Combs drugged and then raped the Plaintiff. The aggravated sexual

assault occurred at one of Defendant Sean Combs’ frequently held infamous after-parties, this time

in Las Vegas. The conduct described herein is shockingly typical of how Combs conducted himself

for many years. Many individuals and entities facilitated and conspired with this abhorrent

conduct. Sean Combs believed he was above the law. He is not.

        2.       For decades, Sean Combs (a/k/a “P. Diddy,” a/k/a “Puff Daddy,” a/k/a “Diddy,”

a/k/a “PD,” and a/k/a “Love”) (described herein as “Combs”) abused, molested, raped, assaulted,
          Case 1:24-cv-07977-VSB        Document 1        Filed 10/20/24      Page 2 of 21




threatened and coerced men, women, minors and others for sexual gratification, to assert

dominance, and to conceal his abhorrent conduct. He accomplished these acts by and through a

criminal enterprise built on his success as a rapper, record producer and record executive. Combs

is one of the wealthiest musical artists in the world. Behind the façade of being a three-time

Grammy Award winner, discovering and developing multiple famous musical artists, and ranking

on Forbes’ list of the highest-paid entertainers in the world, there existed something sinister – a

dark underbelly of crime, sex trafficking, forced labor, kidnapping, bribery and prostitution.

Combs is a menace to society, women and children. While his wealth has kept him above

consequence for years, Combs now faces the awesome power of the American judicial system and

ultimately a jury of his peers, who will be asked to punish him for the deplorable conduct described

herein.

          Combs’ Businesses

          3.    Combs’ business enterprise is central to the pervasive acts of sexual assault and

abuse committed by him during the last decades. Combs operated his business, headquartered at

various times in Manhattan and Los Angeles, under a variety of United States-based corporate

entities, including Bad Boy Entertainment, Bad Boy Books Holdings, Inc., Bad Boy Records LLC,

Bad Boy Entertainment, LLC, Bad Boy Productions, LLC, Daddy’s House Recording Studio, Inc.,

and CE OPCO, LLC d/b/a Combs Global, f/k/a Combs Enterprises LLC, Combs Enterprises and

Combs Global (collectively, the “Combs Business”). Corporate entities in the Combs Business

portfolio included record labels, a recording studio, an apparel line, an alcoholic spirits promoting

business, a marketing agency, talent discovery, a television network and a media company.

          4.    On the surface, each of these businesses served a legitimate purpose related to

entertainment, music and other subjects. But in reality, Combs, by and through himself and his
       Case 1:24-cv-07977-VSB             Document 1      Filed 10/20/24      Page 3 of 21




agents, employees and contractors, used these businesses to sexually assault, abuse, threaten and

coerce hundreds of individuals through sexual quid pro quo schemes, as well as to take advantage

of individuals with impunity thinking the victims would never seek recourse. Combs and his

agents, employees and contractors, through these Combs Businesses, would tell victims, “this is

what it takes to be famous,” “what are you willing to do to become a star?,” and “perform this

sexual act or else” to coerce the victim into performing a non-consensual sexual act for the

gratification of Combs and his cohorts.

       5.      Members and associates of the Combs Business engaged in (and/or attempted to

engage in), among other activities, sex trafficking, forced labor, interstate transportation for the

purposes of prostitution, coercion and enticement to engage in prostitution, narcotics offenses,

kidnapping, arson, bribery, and obstruction of justice.

       6.      The Combs Business constituted an ongoing organization whose members

functioned as a continuing unit for a common purpose of achieving the objectives of Combs.

       Combs’ Pervasive History of Sexual Assault and Violence

       7.      For years Combs and his businesses engaged in a persistent and pervasive pattern

of abuse toward women, men, and minors. This abuse was, at times, verbal, emotional, physical

and sexual. As part of his pattern of abuse, Combs manipulated both men and women to participate

in highly-orchestrated performances of sexual activity with both commercial sex workers and

unsuspecting partygoers. In some cases these were individuals who were contractors or vendors.

In other cases, they were random individuals pulled from a hotel lobby, a show, or off the street.

Combs ensured participation from these individuals by, among other things, obtaining and

distributing narcotics to them with or without their knowledge, controlling their careers, leveraging
        Case 1:24-cv-07977-VSB           Document 1        Filed 10/20/24       Page 4 of 21




his financial support and threatening to cut off the same, and using intimidation, violence, and

illicit drugs.

        8.       Combs, while celebrated for his business acumen and influence in the entertainment

world, has often been described in a more troubling light as powerful, manipulative, and

problematic. His aggressive tactics, both in business and personal dealings, have drawn criticism,

with many viewing him as someone who leverages his power to intimidate and control. This darker

side of Combs’ persona has been underscored by the numerous lawsuits and allegations that have

surfaced over the years. Despite his undeniable success, his rise to the top is marred by a reputation

for being ruthless and manipulative, using his influence in ways that have left a trail of legal and

personal controversies including but not limited to the following:

                 a. Nightclub Shooting Incident (1999): Combs was embroiled in a high-profile

                    case related to a nightclub shooting in New York, involving his then-girlfriend,

                    Jennifer Lopez, and rapper Shyne. Combs was acquitted of all charges, though

                    the case remains a significant legal event in his career.

                 b. Multiple Assault Allegations: Combs has faced several lawsuits related to

                    alleged physical assaults, many of which have been settled out of court.

                 c. Business Disputes: Combs has been involved in various business-related legal

                    conflicts, particularly surrounding his Sean John clothing line and other

                    ventures. These disputes often involved contractual disagreements and

                    trademark claims.

                 d. Claims by Cassie Ventura: Combs’ former girlfriend, Casandra “Cassie”

                    Ventura, filed a lawsuit accusing him of years of physical, emotional, and

                    sexual abuse during their relationship. Cassie alleged repeated instances of
        Case 1:24-cv-07977-VSB          Document 1       Filed 10/20/24      Page 5 of 21




                   assault, coerced sexual acts, and drug use, all contributing to an environment of

                   fear and manipulation.

       9.      Combs particularly fancied the use of the popular date-rape drug Rohypnol, or

GHB, to commit heinous non-consensual acts of sexual violence and rape onto countless victims.

Combs often would secretly use the drug in an alcoholic beverage served at his parties, typically

champagne or “lemon drops.” Partygoers were forced to consume the alcoholic beverage,

containing GHB, either prior to entering or while at Combs’ party. There are also allegations of

Combs dousing victims in lotions or similar body oils, also laced with GHB, so that the drug would

be absorbed through the victim’s skin and make it easier to assault him or her. Further, it is well

known that Combs had a practice of lacing water bottles with other substances, such as Xanax,

and distributing them at his parties.

       10.     Combs’ recurrent and pervasive physical abuse took place for multiple decades.

His tendencies of violence and sexual assault were no doubt well known amongst his colleagues,

employees, agents and businesses. On numerous occasions from at least on or about 1996 and

continuing for years, Combs assaulted women and men by striking, punching, dragging, throwing

objects at, and kicking them. Combs also assaulted children both physically and sexually.

       11.     In 1996, Combs was found guilty of criminal mischief for threatening a

photographer from the New York Post with a gun. In 1999, he was arrested and charged with

second-degree assault and criminal mischief in connection with assaulting a record executive.

Combs was arrested again the same year for his involvement in a shooting at a club in New York.

Another instance of violence occurred at a Los Angeles hotel in or about March 2016, which was

captured on video and later publicly reported, where Combs kicked, dragged and threw a vase at
       Case 1:24-cv-07977-VSB           Document 1       Filed 10/20/24     Page 6 of 21




a woman as she was attempting to leave his hotel room. When hotel security staff intervened,

Combs attempted to bribe the staff member to ensure silence.

       12.     In the past year, numerous civil complaints have been filed by plaintiffs who allege

that they had been sexually abused by Combs between 1991 and 2009. In November 2023, three

lawsuits were filed against Combs under the New York Adult Survivors Act. Cassie Ventura, an

artist signed to Bad Boy, sued Combs in New York for rape and physical abuse. She alleged Combs

facilitated these acts by and through supplying Ms. Ventura with copious amounts of drugs and

urging her to take them, beginning in 2006.

       13.     Joi Dickerson-Neal also sued Combs in New York, alleging Combs drugged her,

sexually assaulted her and secretly recorded the assault in 1991.

       14.     Liza Gardner, whom Combs met at an event hosted by a record label affiliated with

Bad Boy, sued him for allegedly raping her and a friend in 1990 or 1991 when she was only 16.

       15.     In December 2023, an anonymous Plaintiff sued Combs in New York for allegedly

drugging and gang-raping her in 2003 when she was only seventeen years old. This victim alleged

that employees and business associates of Combs, through their affiliation with the Bad Boy

enterprise, lured her to Combs’ home where Combs then raped her.

       16.     In February 2024, Rodney “Lil Rod” Jones, one of Combs’ former producers, sued

Combs for allegedly forcing him to engage in unwanted sex acts and sex trafficking, among other

allegations. Mr. Jones alleged that Combs regularly drugged others, including minors, by giving

them drugs laced with ecstasy (MDMA) and other date rape drugs. Mr. Jones alleged that Combs

in fact drugged him as well in order to commit acts of sexual assault.

       17.     In May 2024, former model Crystal McKinney and April Lampros sued Combs.

Ms. McKinney alleged that Combs drugged and sexually assaulted her at his recording studio in
       Case 1:24-cv-07977-VSB           Document 1        Filed 10/20/24      Page 7 of 21




2003. Mimicking what has now become a known pattern, Combs promised Ms. McKinney to help

her with her modeling career in exchange for engaging in sexual conduct with him. Ms. Lampros,

an intern at Arista Records, which was an owner of Bad Boy, also sued Combs in May 2024 in

New York County Supreme Court for raping her on multiple occasions, secretly filming these acts,

and showing the recordings to multiple people. Ms. Lampros also alleges that Combs ordered her

to take drugs on one occasion before he raped her.

       18.     In July 2024, former adult film star Adria English – who was employed by Combs

as an entertainer at his infamous White Parties that brought together the biggest names in the music

and entertainment industries – sued Combs in the Southern District of New York for sex

trafficking, alleging that he required her to consume drinks laced with ecstasy and secretly

recorded the sexual acts.

       19.     In September 2024, singer and songwriter Dawn Angelique Richard also sued

Combs. Richard was employed by Combs as part of the girl group Danity Kane, formed by Combs,

and later as a key member of Combs’ band Diddy – Dirty Money. She sued Combs in New York

for sexual assault, false imprisonment, and for subjecting her to hostile working conditions due to

her gender, including degrading comments and threats. Ms. Richard has alleged that Combs

regularly supplied others including minors with copious amounts of drugs and alcohol, and

subjected them to sexual acts while they were sedated and/or unconscious due to the drugs and

alcohol.

       20.     In September 2024, a federal grand jury in Manhattan indicted Combs and charged

him with sex trafficking, racketeering and the “creation of a criminal enterprise in which he abused,

threatened and coerced women and others around him to fulfill his sexual desires, protect his

reputation and conceal his conduct.” See United States of America v. Sean Combs, a/k/a “Puff
       Case 1:24-cv-07977-VSB             Document 1     Filed 10/20/24     Page 8 of 21




Daddy,” a/k/a “P. Diddy,” a/k/a “Diddy,” a/k/a “PD,” a/k/a “Love,” Index No. 24 Crim. 542,

Indictment (SDNY), at ¶ 1. The indictment explains that Combs’ abuse of women and minors was

enabled and conspired with by “the employees, resources and influence of the multi-faceted

business empire that he led and controlled – creating a criminal enterprise whose members and

associates engaged in, and attempted to engage in, among other crimes, sex-trafficking, forced

labor, kidnapping, arson, bribery and obstruction of justice.”

       21.     Combs’ long history of violence unequivocally establishes that his actions are

motivated by gender – both men and women. Combs has a profound contempt for women and a

desire to dominate both minors and other men. His conduct shows a longstanding practice of

denigrating, defeating and attempting to humiliate men, women and children. His practices and

desires are different for men, women and children. But his actions are unequivocally motivated by

the victims’ particular gender and age.

       22.     Plaintiff’s allegations herein substantially mirror Combs’ prior conduct as

established through criminal indictments and other lawsuits. Through this case, Plaintiff seeks a

full measure of justice from a man who thought his power, money and influence rendered him

untouchable. Plaintiff joins many other victims by filing this Complaint in hopes their common

voice makes it impossible for Combs to assault another person ever again.

                                            PARTIES

       23.     Plaintiff Jane Doe is a female who resides in Arizona.

       24.     Defendant Sean Combs is a male who, on information and belief, resides in New

York City, and who is otherwise currently incarcerated in the Metropolitan Detention Center in

Brooklyn. On information and belief, at all relevant times Combs owned and/or controlled Bad

Boy Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc., Bad Boy Books Holdings,
       Case 1:24-cv-07977-VSB           Document 1       Filed 10/20/24   Page 9 of 21




Inc., Bad Boy Records LLC, Bad Boy Entertainment LLC, Bad Boy Productions LLC,

(collectively “Bad Boy”), Daddy’s House Recording Studio, Inc., and CE OPCO, LLC d/b/a

Combs Global, f/k/a Combs Enterprises LLC (all together, the “Combs Corporations”). The facts

of Combs’ ownership and titles at the Combs Corporations enabled and conspired with him to

commit the unlawful sexual violence against Plaintiff described herein and/or to harass and

subsequently intimidate him into silence after the sexual assault.

       25.     Defendant Daddy’s House Recordings, Inc. (“Daddy’s House”) is a domestic

business corporation that is incorporated in New York and on information and belief now has its

principal place of business at 9255 Sunset Boulevard, 2nd Floor, West Hollywood, California

90069. Combs is listed as the CEO in public filings, with a listed address of 1710 Broadway, New

York, New York 10019. At the time of the events alleged herein, Daddy’s House was a world-

class recording studio owned by Combs located at 321 W 44th Street, Suite 201, New York, New

York 10036. On information and belief, at all relevant times, Bad Boy and Combs together owned

and operated Daddy’s House. On information and belief, the Bad Boy recording studio was located

on the premises of Daddy’s House. Combs used the Daddy’s House brand, stature and their

ownership and titles at Daddy’s House to commit the unlawful sexual violence against Plaintiff

described herein.

       26.     Defendant CE OPCO, LLC d/b/a Combs Global, f/k/a Combs Enterprises LLC

(“Combs Global”) is a limited liability company incorporated in Delaware that has its principal

place of business at 9255 Sunset Boulevard, 2nd Floor, West Hollywood, California 90069. On

information and belief, all members of Combs Global are citizens of Delaware, New York, and/or

California. On information and belief, Combs Global is an alter ego for Combs and/or a successor

in interest to Combs’ other corporations and/or was established or used by Combs for the purpose
       Case 1:24-cv-07977-VSB           Document 1       Filed 10/20/24      Page 10 of 21




of moving, disposing of, and/or insulating his assets, including in connection with his criminal

activities and to avoid liability. Combs Global currently owns, controls, and/or oversees Bad Boy

and Combs’ other business ventures in the music, fashion, fragrance, beverage, marketing, film,

television, and media industries.

       27.     As part of his renowned Bad Boy record label and brand, Combs has established

several corporate entities under the “Bad Boy” name over the past few decades, including but not

limited to Bad Boy Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc., Bad Boy

Books Holdings, Inc., Bad Boy Records LLC, Bad Boy Entertainment LLC, and Bad Boy

Productions LLC (together, “Bad Boy”). On information and belief, all Bad Boy corporate entities

are alter egos for Combs, are controlled and/or directed by Combs, and/or were established or used

by Combs for the purpose of moving, disposing of, and/or insulating his assets, including in

connection with his criminal activities and to avoid liability. On information and belief, all active

Bad Boy entities are now owned and/or controlled by Combs and/or by Combs Global. Combs

used the Bad Boy premises/recording studio and their ownership and titles at Bad Boy to commit

the unlawful sexual violence against Plaintiff described herein and/or to harass and subsequently

intimidate him into silence after the sexual assault.

               a. Defendant Bad Boy Entertainment Holdings, Inc. is a domestic business

                   corporation incorporated in New York, that on information and belief now has

                   its principal place of business at 9255 Sunset Boulevard, 2nd Floor, West

                   Hollywood, California 90069. Bad Boy Entertainment Holdings, Inc. is part of

                   the Bad Boy enterprise founded and owned by Combs, and on information and

                   belief is now owned and/or controlled by Combs and/or by Combs Global.
Case 1:24-cv-07977-VSB      Document 1       Filed 10/20/24     Page 11 of 21




         Combs is listed as the CEO in public filings, with a listed address of 1710

         Broadway, New York, New York 10019.

      b. Defendant Bad Boy Productions Holdings, Inc. is a domestic business

         corporation incorporated in New York, that on information and belief now has

         its principal place of business at 9255 Sunset Boulevard, 2nd Floor, West

         Hollywood, California 90069. Bad Boy Productions Holdings, Inc. is part of

         the Bad Boy enterprise founded and owned by Combs, and on information and

         belief is now owned and/or controlled by Combs and/or by Combs Global.

         Combs is listed as the CEO in public filings, with a listed address of 1710

         Broadway, New York, New York 10019.

      c. Defendant Bad Boy Books Holdings, Inc. is a domestic business corporation

         incorporated in New York, that on information and belief now has its principal

         place of business at 1440 Broadway, 3rd Floor, New York, New York 10018.

         Bad Boy Books Holdings, Inc. is part of the Bad Boy enterprise founded and

         owned by Combs, and on information and belief is now owned and/or

         controlled by Combs and/or by Combs Global. The CEO listed on public filings

         is Eddie Norward Jr., with a listed address of 1710 Broadway, New York, New

         York 10019, the same address listed for Sean Combs in public filings for Bad

         Boy Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc., and

         Daddy’s House Recordings, Inc.

      d. Defendant Bad Boy Records LLC is a Delaware limited liability company that

         on information and belief is headquartered in New York and/or California. On

         information and belief, all members of Bad Boy Records LLC are citizens of
Case 1:24-cv-07977-VSB       Document 1       Filed 10/20/24      Page 12 of 21




         Delaware, New York, and/or California. On information and belief, Bad Boy

         Records LLC is part of the Bad Boy enterprise and/or a successor-in-interest to

         other Bad Boy Defendants that comprise the Bad Boy enterprise founded and

         owned by Combs. On information and belief, Bad Boy Records LLC is now

         owned and/or controlled by Combs and/or by Combs Global.

      e. Defendant Bad Boy Entertainment LLC is a New York limited liability

         company that on information and belief is headquartered in New York and/or

         California. On information and belief, all members of Bad Boy Entertainment

         LLC are citizens of New York and/or California. Bad Boy Entertainment LLC

         is part of the Bad Boy enterprise and/or a successor-in-interest to other Bad Boy

         Defendants that comprise the Bad Boy enterprise founded and owned by

         Combs. On information and belief, Bad Boy Entertainment LLC is now owned

         and/or controlled by Bad Boy Entertainment Holdings, Inc. and/or by Combs,

         and/or by Combs Global.

      f. Defendant Bad Boy Productions LLC is a New York limited liability company

         that on information and belief is headquartered in New York and/or California.

         On information and belief, all members of Bad Boy Productions LLC are

         citizens of New York and/or California. Bad Boy Productions LLC is part of

         the Bad Boy enterprise and/or a successor-in-interest to other Bad Boy

         Defendants that comprise the Bad Boy enterprise founded and owned by

         Combs. On information and belief, Bad Boy Productions LLC is now owned

         and/or controlled by Combs and/or by Combs Global.
         Case 1:24-cv-07977-VSB        Document 1        Filed 10/20/24      Page 13 of 21




         28.   Defendants Organizational Does 1-10 are currently unknown entities who were

owned by and/or employed Defendant Combs and enabled and conspired with the commission of

the conduct complained of herein. As the parties engage in discovery, Plaintiff retains the right to

amend the Complaint to add these entities by name.

         29.   Defendants Individual Does 1-10 are currently unknown celebrities and/or persons

of interest who enabled and/or conspired with the commission of the conduct complained of herein.

As the parties engage in discovery, Plaintiff retains the right to amend the Complaint to add these

individuals by name.

         30.   Each of the Combs Corporations (a) aided and abetted Combs in committing the

unlawful sexual violence against Plaintiff described herein, (b) are alter egos for Combs,

completely dominated by him and used for his personal interests and to engage in wrongdoing

which harmed Plaintiff and others, and/or (c) serve or have served as vehicles for Combs to move,

dispose of, and/or insulate his assets, including in connection with his criminal activities and to

avoid compensating the victims of his many crimes, including Plaintiff.

                                  JURISDICTION AND VENUE

         31.   This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1332 because

this case is between citizens of different states, and the amount in controversy exceeds $75,000.

         32.   This Court has specific personal jurisdiction over Defendants because several of

the Defendants are domiciled in New York State and/or regularly transact business in New York

State.

         33.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because this District

a judicial district in which a defendant resides, and all defendants are residents of this State in

which this District is located.
       Case 1:24-cv-07977-VSB           Document 1        Filed 10/20/24      Page 14 of 21




                                         JURY DEMAND

       34.     Plaintiff hereby demands a trial by jury on her claims in this action.

                                  FACTUAL ALLEGATIONS

       35.     Defendant Sean Combs’ infamous Las Vegas parties were legendary events known

for their exclusivity, extravagance, and celebrity guest list. These high-profile parties attracted A-

list celebrities from across the entertainment, fashion, and business worlds. The events were

lavishly decorated, featured live music performances, and boasted top-tier food and beverages.

The atmosphere at these parties was one of opulence and luxury, often making headlines for their

celebrity guest lists, over-the-top entertainment, and the stunning aesthetics of the event. Many

unsuspecting individuals were recruited to attend these parties. Some individuals were recruited in

various cities and were paid to fly in and to attend these functions.

       36.     On Memorial Day weekend of 2014, Plaintiff and two of her friends visited Las

Vegas to stay at the Hotel Rio.

       37.     While there, Plaintiff contacted various people she’d met in the entertainment

industry in order to find out if any “cool” events would be taking place. One such contact was an

entertainer who identified himself as “International Smoove,” who Plaintiff had met a few years

prior at a party in Miami. Plaintiff was never able to ascertain his legal name, but connected with

him through Instagram using that moniker.

       38.     Plaintiff discovered that Smoove was in Las Vegas through his Instagram stories,

and after contacting him, discovered that he worked for Combs as a party promoter. Smoove

invited Plaintiff to an exclusive party at Las Vegas’s popular poolside lounge called “Club Rehab.”

       39.     Smoove made it clear that this was an exclusive celebrity party and Plaintiff’s two

friends were not invited, only Plaintiff. Despite having some akwardness with this prohibition,
         Case 1:24-cv-07977-VSB        Document 1        Filed 10/20/24     Page 15 of 21




Plaintiff, with the encouragement of her friends, decided to attend the party to potentially network

with the influential people there.

         40.    While at the party, Plaintiff met many celebrities, including Mary J. Blige, Lil’

Kim, and Nicki Minaj; she saw more that she did not meet. Plaintiff took pictures or videos with

many of these celebrities and posted them to her private Instagram page.

         41.    Plaintiff was also introduced to Combs, who greeted her and said he hoped she had

a lot of fun at the party.

         42.    Eventually, the party at Club Rehab died down and Plaintiff was invited by

“Smoove” to an after party at Combs’ suite at the Planet Hollywood hotel. While there, Plaintiff

spoke to Combs again and he directed her to a bar area with tens of dozens of open bottles of his

Ciroc branded vodka. Combs directed Plaintiff to grab a bottle and help herself. Plaintiff also took

videos of Combs at the party and posted them to her Instagram. Stills from the videos are shown

below:




         43.    Plaintiff did as was suggested by Combs and took a few sips of what she thought

to be vodka from one of the open bottles, but about 40 minutes after having 1-2 drinks from the
         Case 1:24-cv-07977-VSB        Document 1       Filed 10/20/24      Page 16 of 21




Ciroc bottle, Plaintiff began to feel nauseated and dizzy, slowly losing control of her motor

functions. This occurred at around 8pm in the evening. A photograph of an actual exemplary

container used by Combs and/or his agents/employees to insert GHB into alcoholic drinks is seen

below:




         44.   Plaintiff informed “Smoove” that she did not feel well, and likely would need to

leave the party soon. “Smoove” directed her to an empty bedroom in the suite and told her to lie

down there until she felt better. He told her not to worry about being distrubed because the door

would be locked.

         45.   The next thing Plaintiff recalls is waking up the following morning feeling very

groggy and sore. Her entire body hurt, and it felt difficult to move. As soon as she awoke, she saw

Combs in the corner of the room, shirtless and yelling loudly and with animation at someone over

the phone. He was the only person in the room with her and it was clear that someone else had

been in the bed with her.

         46.   Out of fear and confusion, Plaintiff remained silent and still until Combs left the

room and she heard the front door to the suite close.
          Case 1:24-cv-07977-VSB        Document 1        Filed 10/20/24       Page 17 of 21




          47.   Plaintiff eventually got up and realized she was naked and her general soreness was

more aggravated in her genital area. Plaintiff was horrified to realize that she was raped by Combs.

She found her belongings, including her dead cell phone, and made her way back to the Hotel Rio

where her friends were staying.

          48.   Upon arriving to the Hotel Rio, Plaintiff’s friends were shocked to see the state she

was in; they tried to help her. Plaintiff indicated that all she wanted to do was shower and rest.

          49.   Plaintiff ended up sleeping for two entire days after that. She only remembered

vague glimpses of her friends trying to wake her up and offer her water. Afterwards, her friends

told her that they did their best to take care of her during this time, but she was largely incoherent.

          50.   In the aftermath of the assault, Plaintiff struggled with intense emotional pain and

mental health issues, feeling disgusted and deeply depressed.

          51.   Plaintiff has experienced a significant impact on her personal life; she struggles to

maintain relationships or be in party atmospheres due to the assault.

          52.   Not a day goes by for Plaintiff without thinking of the traumatic incident.

                                   FIRST CAUSE OF ACTION
                                   (Battery under Nevada law)
                                       (Defendant Combs)

          53.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.

          54.   As alleged herein, Defendant Combs willfully and unlawfully used physical force

on Plaintiff.

          55.   In using willful and unlawful force on Plaintiff, Defendant Combs intended to cause

a harmful or offensive contact.

          56.   The harmful and offensive contact intended by Defendant Combs in fact occurred.
          Case 1:24-cv-07977-VSB        Document 1        Filed 10/20/24      Page 18 of 21




          57.   The harmful and offensive contact caused Plaintiff to suffer harm.

          58.   As a result of Defendants’ actions, Plaintiff suffered damages in an amount to be

determined at trial.

          59.   As a result of Nevada Senate Bill 129, signed into law in June 2023, there is no

applicable statute of limitations for victims of sexual abuse to sue in tort for claims arising from

the sexual abuse.

                                SECOND CAUSE OF ACTION
                            (False Imprisonment under Nevada law)
                                       (All Defendants)

          60.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.

          61.   By drugging Plaintiff as alleged herein, Defendant Combs acted with the intention

of confining Plaintiff within boundaries fixed by Defendant Combs.

          62.   Plaintiff did not and could not consent to the confinement, which violated Plaintiff’s

right to be free from restraint of movement.

          63.   Plaintiff was raped while confined and therefore suffered substantial harm from the

confinement.

          64.   The confinement allowed Defendant Combs’ rape of Plaintiff to occur and

accordingly the confinement was a proximate cause of Plaintiff’s harm.

          65.   The Combs Business enabled and conspired with Combs to commit the crime of

falsely imprisoning Plaintiff because Combs sexually assaulted Plaintiff at a party related to or

referencing Combs Business. On information and belief, Combs Businesses routinely committed

sexual assault and gender-motivated violence, as detailed in other civil lawsuits, to further the

business purpose of Combs’ enterprise. Given Combs’ long-standing pattern and practice of
           Case 1:24-cv-07977-VSB           Document 1    Filed 10/20/24     Page 19 of 21




committing sexual violence against women, the Combs Business had and/or should have had

knowledge of Combs using such parties and venues for this unlawful conduct, and did nothing to

stop it.

           66.    On information and belief, Plaintiff alleges that Defendants Organizational Does 1

through 10, inclusive, are other parties not yet identified who have enabled and conspired with

Combs to commit the crime of violence motivated by gender, in the ways articulated above and/or

in other ways.

           67.    As a result of Defendants’ actions, Plaintiff suffered damages in an amount to be

determined at trial.

           68.    As a result of Nevada Senate Bill 129, signed into law in June 2023, there is no

applicable statute of limitations for victims of sexual abuse to sue in tort for claims arising from

the sexual abuse



           WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendants as follows:

                  a. Awarding compensatory damages for all physical injuries, emotional distress,

                     psychological harm, anxiety, humiliation, physical and emotional pain and

                     suffering, family and social disruption, and other harm, in an amount to be

                     determined at trial;

                  b. Awarding punitive damages in an amount to be determined at trial;

                  c. Awarding attorneys’ fees and costs pursuant to any applicable statute or law;

                  d. Awarding pre- and post-judgment interest on all such damages, fees, and/or

                     costs;
     Case 1:24-cv-07977-VSB       Document 1       Filed 10/20/24     Page 20 of 21




           e. Attaching any and all of Defendants’ real property and other assets located in

              the State of New York pursuant to Federal Rule of Civil Procedure 64; and

           f. Awarding such other and further relief as this Court may deem just and

              proper.



Dated: OCTOBER 20, 2024

                                         Respectfully submitted,

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Case 1:24-cv-07977-VSB   Document 1    Filed 10/20/24     Page 21 of 21




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